Case 1:22-cv-10666-TLL-PTM ECF No. 11-12, PageID.923 Filed 08/05/22 Page 1 of 9




                       Exhibit K
6/14/2021 Case 1:22-cv-10666-TLL-PTM    ECF
                                   Bilking      No. 11-12,
                                           the Elderly,          PageID.924
                                                        With a Corporate              Filed
                                                                         Assist - The New York08/05/22
                                                                                               Times         Page 2 of 9
                                   https://www.nytimes.com/2007/05/20/business/20tele.html



Bilking the Elderly, With a Corporate Assist




                                                          Richard Guthrie, 92, was tricked into giving banking data
                                                          to telephone callers, who then stole money from his
                                                          account, investigators say.
                                                          Ozier Muhammad/The New York Times



By Charles Duhigg

May 20, 2007


The thieves operated from small offices in Toronto and hangar-size rooms in India. Every night,
working from lists of names and phone numbers, they called World War II veterans, retired
schoolteachers and thousands of other elderly Americans and posed as government and insurance
workers updating their files.

Then, the criminals emptied their victims’ bank accounts.

Richard Guthrie, a 92-year-old Army veteran, was one of those victims. He ended up on scam
artists’ lists because his name, like millions of others, was sold by large companies to telemarketing
criminals, who then turned to major banks to steal his life’s savings.

Mr. Guthrie, who lives in Iowa, had entered a few sweepstakes that caused his name to appear in a
database advertised by infoUSA, one of the largest compilers of consumer information. InfoUSA
sold his name, and data on scores of other elderly Americans, to known lawbreakers, regulators say.

InfoUSA advertised lists of “Elderly Opportunity Seekers,” 3.3 million older people “looking for
ways to make money,” and “Suffering Seniors,” 4.7 million people with cancer or Alzheimer’s
disease. “Oldies but Goodies” contained 500,000 gamblers over 55 years old, for 8.5 cents apiece.
One list said: “These people are gullible. They want to believe that their luck can change.”

As Mr. Guthrie sat home alone — surrounded by his Purple Heart medal, photos of eight children
and mementos of a wife who was buried nine years earlier — the telephone rang day and night.
After criminals tricked him into revealing his banking information, they went to Wachovia, the
nation’s fourth-largest bank, and raided his account, according to banking records.

“I loved getting those calls,” Mr. Guthrie said in an interview. “Since my wife passed away, I don’t
have many people to talk with. I didn’t even know they were stealing from me until everything was
gone.”

https://www.nytimes.com/2007/05/20/business/20tele.html                                                                    1/8
6/14/2021 Case 1:22-cv-10666-TLL-PTM    ECF
                                   Bilking      No. 11-12,
                                           the Elderly,          PageID.925
                                                        With a Corporate              Filed
                                                                         Assist - The New York08/05/22
                                                                                               Times     Page 3 of 9
Telemarketing fraud, once limited to small-time thieves, has become a global criminal enterprise
preying upon millions of elderly and other Americans every year, authorities say. Vast databases of
names and personal information, sold to thieves by large publicly traded companies, have put
almost anyone within reach of fraudulent telemarketers. And major banks have made it possible for
criminals to dip into victims’ accounts without their authorization, according to court records.

The banks and companies that sell such services often confront evidence that they are used for
fraud, according to thousands of banking documents, court filings and e-mail messages reviewed by
The New York Times.

Although some companies, including Wachovia, have made refunds to victims who have
complained, neither that bank nor infoUSA stopped working with criminals even after executives
were warned that they were aiding continuing crimes, according to government investigators.
Instead, those companies collected millions of dollars in fees from scam artists. (Neither company
has been formally accused of wrongdoing by the authorities.)

“Only one kind of customer wants to buy lists of seniors interested in lotteries and sweepstakes:
criminals,” said Sgt. Yves Leblanc of the Royal Canadian Mounted Police. “If someone advertises a
list by saying it contains gullible or elderly people, it’s like putting out a sign saying ‘Thieves
welcome here.’ ”

In recent years, despite the creation of a national “do not call” registry, the legitimate telemarketing
industry has grown, according to the Direct Marketing Association. Callers pitching insurance
plans, subscriptions and precooked meals collected more than $177 billion in 2006, an increase of
$4.5 billion since the federal do-not-call restrictions were put in place three years ago.

That growth can be partly attributed to the industry’s renewed focus on the elderly. Older
Americans are perfect telemarketing customers, analysts say, because they are often at home, rely
on delivery services, and are lonely for the companionship that telephone callers provide. Some
researchers estimate that the elderly account for 30 percent of telemarketing sales — another
example of how companies and investors are profiting from the growing numbers of Americans in
their final years.

While many telemarketing pitches are for legitimate products, the number of scams aimed at older
Americans is on the rise, the authorities say. In 2003, the Federal Trade Commission estimated that
11 percent of Americans over age 55 had been victims of consumer fraud. The following year, the
Federal Bureau of Investigation shut down one telemarketing ring that stole more than $1 billion,
spanned seven countries and resulted in 565 arrests. Since the start of last year, federal agencies
have filed lawsuits or injunctions against at least 68 telemarketing companies and individuals
accused of stealing more than $622 million.

“Most people have no idea how widespread and sophisticated telemarketing fraud has become,”
said James Davis, a Federal Trade Commission lawyer. “It shocks even us.”




https://www.nytimes.com/2007/05/20/business/20tele.html                                                                2/8
6/14/2021 Case 1:22-cv-10666-TLL-PTM    ECF
                                   Bilking      No. 11-12,
                                           the Elderly,          PageID.926
                                                        With a Corporate              Filed
                                                                         Assist - The New York08/05/22
                                                                                               Times     Page 4 of 9
Many of the victims are people like Mr. Guthrie, whose name was among the millions that infoUSA
sold to companies under investigation for fraud, according to regulators. Scam artists stole more
than $100,000 from Mr. Guthrie, his family says. How they took much of it is unclear, because Mr.
Guthrie’s memory is faulty and many financial records are incomplete.




What is certain is that a large sum was withdrawn from his account by thieves relying on Wachovia
and other banks, according to banking and court records. Though 20 percent of the total amount
stolen was recovered, investigators say the rest has gone to schemes too complicated to untangle.

Senior executives at infoUSA were contacted by telephone and e-mail messages at least 30 times.
They did not respond.

Wachovia, in a statement, said that it had honored all requests for refunds and that it was
cooperating with authorities.

Mr. Guthrie, however, says that thieves should have been prevented from getting access to his funds
in the first place.

“I can’t understand why they were allowed inside my account,” said Mr. Guthrie, who lives near Des
Moines. “I just chatted with this woman for a few minutes, and the next thing I knew, they took
everything I had.”

Sweepstakes a Common Tactic

Investigators suspect that Mr. Guthrie’s name first appeared on a list used by scam artists around
2002, after he filled out a few contest entries that asked about his buying habits and other personal
information.

He had lived alone since his wife died. Five of his eight children had moved away from the farm. Mr.
Guthrie survived on roughly $800 that he received from Social Security each month. Because
painful arthritis kept him home, he spent many mornings organizing the mail, filling out
sweepstakes entries and listening to big-band albums as he chatted with telemarketers.

“I really enjoyed those calls,” Mr. Guthrie said. “One gal in particular loved to hear stories about
when I was younger.”
https://www.nytimes.com/2007/05/20/business/20tele.html                                                                3/8
6/14/2021 Case 1:22-cv-10666-TLL-PTM    ECF
                                   Bilking      No. 11-12,
                                           the Elderly,          PageID.927
                                                        With a Corporate              Filed
                                                                         Assist - The New York08/05/22
                                                                                               Times     Page 5 of 9
Some of those entries and calls, however, were intended solely to create databases of information on
millions of elderly Americans. Many sweepstakes were fakes, investigators say, and existed only to
ask entrants about shopping habits, religion or other personal details. Databases of such responses
can be profitably sold, often via electronic download, through list brokers like Walter Karl Inc., a
division of infoUSA.

The list brokering industry has existed for decades, primarily serving legitimate customers like
magazine and catalog companies. InfoUSA, one of the nation’s largest list brokers and a publicly
held company, matches buyers and sellers of data. The company maintains records on 210 million
Americans, according to its Web site. In 2006, it collected more than $430 million from clients like
Reader’s Digest, Publishers Clearinghouse and Condé Nast.

But infoUSA has also helped sell lists to companies that were under investigation or had been
prosecuted for fraud, according to records collected by the Iowa attorney general. Those records
stemmed from a now completed investigation of a suspected telemarketing criminal.

By 2004, Mr. Guthrie’s name was part of a list titled “Astroluck,” which included 19,000 other
sweepstakes players, Iowa’s records show. InfoUSA sold the Astroluck list dozens of times, to
companies including HMS Direct, which Canadian authorities had sued the previous year for
deceptive mailings; Westport Enterprises, the subject of consumer complaints in Kansas,
Connecticut and Missouri; and Arlimbow, a European company that Swiss authorities were
prosecuting at the time for a lottery scam.

(In 2005, HMS’s director was found not guilty on a technicality. Arlimbow was shut down in 2004.
Those companies did not return phone calls. Westport Enterprises said it has resolved all
complaints, complies with all laws and engages only in direct-mail solicitations.)

Records also indicate that infoUSA sold thousands of other elderly Americans’ names to Windfall
Investments after the F.B.I. had accused the company in 2002 of stealing $600,000 from a California
woman.

Between 2001 and 2004, infoUSA also sold lists to World Marketing Service, a company that a judge
shut down in 2003 for running a lottery scam; to Atlas Marketing, which a court closed in 2006 for
selling $86 million of bogus business opportunities; and to Emerald Marketing Enterprises, a
Canadian firm that was investigated multiple times but never charged with wrongdoing.

The investigation of Windfall Investments was closed after its owners could not be located.
Representatives of Windfall Investments, World Marketing Services, Atlas Marketing and Emerald
Marketing Enterprises could not be located or did not return calls.


                                                                  Steve St. Clair, an Iowa assistant attorney general,
                                                                  investigated the sale of mailing lists that may have been
                                                                  used in the first step of a scam aimed at the elderly.
                                                                  Ozier Muhammad/The New York Times




https://www.nytimes.com/2007/05/20/business/20tele.html                                                                       4/8
6/14/2021 Case 1:22-cv-10666-TLL-PTM    ECF
                                   Bilking      No. 11-12,
                                           the Elderly,          PageID.928
                                                        With a Corporate              Filed
                                                                         Assist - The New York08/05/22
                                                                                               Times     Page 6 of 9




The Federal Trade Commission’s rules prohibit list brokers from selling to companies engaged in
obvious frauds. In 2004, the agency fined three brokers accused of knowingly, or purposely ignoring,
that clients were breaking the law. The Direct Marketing Association, which infoUSA belongs to,
requires brokers to screen buyers for suspicious activity.

But internal infoUSA e-mail messages indicate that employees did not abide by those standards. In
2003, two infoUSA employees traded e-mail messages discussing the fact that Nevada authorities
were seeking Richard Panas, a frequent infoUSA client, in connection with a lottery scam.

“This kind of behavior does not surprise me, but it adds to my concerns about doing business with
these people,” an infoUSA executive wrote to colleagues. Yet, over the next 10 months, infoUSA sold
Mr. Panas an additional 155,000 names, even after he pleaded guilty to criminal charges in Nevada
and was barred from operating in Iowa.

Mr. Panas did not return calls.

“Red flags should have been waving,” said Steve St. Clair, an Iowa assistant attorney general who
oversaw the infoUSA investigation. “But the attitude of these list brokers is that it’s not their
responsibility if someone else breaks the law.”

Millions of Americans Are Called

Within months of the sale of the Astroluck list, groups of scam artists in Canada, the Caribbean and
elsewhere had the names of Mr. Guthrie and millions of other Americans, authorities say. Such
countries are popular among con artists because they are outside the jurisdiction of the United
States.

The thieves would call and pose as government workers or pharmacy employees. They would
contend that the Social Security Administration’s computers had crashed, or prescription records
were incomplete. Payments and pills would be delayed, they warned, unless the older Americans
provided their banking information.

Many people hung up. But Mr. Guthrie and hundreds of others gave the callers whatever they
asked.

“I was afraid if I didn’t give her my bank information, I wouldn’t have money for my heart
medicine,” Mr. Guthrie said.

Criminals can use such banking data to create unsigned checks that withdraw funds from victims’
accounts. Such checks, once widely used by gyms and other businesses that collect monthly fees,
are allowed under a provision of the banking code. The difficult part is finding a bank willing to
accept them.

In the case of Mr. Guthrie, criminals turned to Wachovia.
https://www.nytimes.com/2007/05/20/business/20tele.html                                                                5/8
6/14/2021 Case 1:22-cv-10666-TLL-PTM    ECF
                                   Bilking      No. 11-12,
                                           the Elderly,          PageID.929
                                                        With a Corporate              Filed
                                                                         Assist - The New York08/05/22
                                                                                               Times     Page 7 of 9
Between 2003 and 2005, scam artists submitted at least seven unsigned checks to Wachovia that
withdrew funds from Mr. Guthrie’s account, according to banking records. Wachovia accepted those
checks and forwarded them to Mr. Guthrie’s bank in Iowa, which in turn sent back $1,603 for
distribution to the checks’ creators that submitted them.

Within days, however, Mr. Guthrie’s bank, a branch of Wells Fargo, became concerned and told
Wachovia that the checks had not been authorized. At Wells Fargo’s request, Wachovia returned the
funds. But it failed to investigate whether Wachovia’s accounts were being used by criminals,
according to prosecutors who studied the transactions.

In all, Wachovia accepted $142 million of unsigned checks from companies that made unauthorized
withdrawals from thousands of accounts, federal prosecutors say. Wachovia collected millions of
dollars in fees from those companies, even as it failed to act on warnings, according to records.

In 2006, after account holders at Citizens Bank were victimized by the same thieves that singled out
Mr. Guthrie, an executive wrote to Wachovia that “the purpose of this message is to put your bank
on notice of this situation and to ask for your assistance in trying to shut down this scam.”

But Wachovia, which declined to comment on that communication, did not shut down the accounts.

Banking rules required Wachovia to periodically screen companies submitting unsigned checks. Yet
there is little evidence Wachovia screened most of the firms that profited from the withdrawals.

In a lawsuit filed last year, the United States attorney in Philadelphia said Wachovia received
thousands of warnings that it was processing fraudulent checks, but ignored them. That suit,
against the company that printed those unsigned checks, Payment Processing Center, or P.P.C., did
not name Wachovia as a defendant, though at least one victim has filed a pending lawsuit against
the bank.

During 2005, according to the United States attorney’s lawsuit, 59 percent of the unsigned checks
that Wachovia accepted from P.P.C. and forwarded to other banks were ultimately refused by other
financial institutions. Wachovia was informed each time a check was returned.

“When between 50 and 60 percent of transactions are returned, that tells you at gut level that
something’s not right,” said the United States attorney in Philadelphia, Patrick L. Meehan.


                                                                  AFTERMATH Tony Unspach takes care of bills and
                                                                  banking for his grandfather, Richard Guthrie, a victim of
                                                                  fake telemarketers.
                                                                  Ozier Muhammad/The New York Times




https://www.nytimes.com/2007/05/20/business/20tele.html                                                                       6/8
6/14/2021 Case 1:22-cv-10666-TLL-PTM    ECF
                                   Bilking      No. 11-12,
                                           the Elderly,          PageID.930
                                                        With a Corporate              Filed
                                                                         Assist - The New York08/05/22
                                                                                               Times     Page 8 of 9
Other banks, when confronted with similar evidence, have closed questionable accounts. But
Wachovia continued accepting unsigned checks printed by P.P.C. until the government filed suit in
2006.

Wachovia declined to respond to the accusations in the lawsuit, citing the continuing civil litigation.

Although Wachovia is the largest bank that processed transactions that stole from Mr. Guthrie, at
least five other banks accepted 31 unsigned checks that withdrew $9,228 from his account. Nearly
every time, Mr. Guthrie’s bank told those financial institutions the checks were fraudulent, and his
money was refunded. But few investigated further.

The suit against P.P.C. ended in February. A court-appointed receiver will liquidate the firm and
make refunds to consumers. P.P.C.’s owners admitted no wrongdoing.

Wachovia was asked in detail about its relationship with P.P.C., the withdrawals from Mr. Guthrie’s
account and the accusations in the United States attorney’s lawsuit. The company declined to
comment, except to say: “Wachovia works diligently to detect and end fraudulent use of its
accounts. During the time P.P.C. was a customer, Wachovia honored all requests for returns related
to the P.P.C. accounts, which in turn protected consumers from loss.”

Prosecutors argue that many elderly accountholders never realized Wachovia had processed checks
that withdrew from their accounts, and so never requested refunds. Wachovia declined to respond.

The bank’s statement continued: “Wachovia is cooperating fully with authorities on this matter.”

Some Afraid to Seek Help

By 2005, Mr. Guthrie was in dire straits. When tellers at his bank noticed suspicious transactions,
they helped him request refunds. But dozens of unauthorized withdrawals slipped through.
Sometimes, he went to the grocery store and discovered that he could not buy food because his
account was empty. He didn’t know why. And he was afraid to seek help.

“I didn’t want to say anything that would cause my kids to take over my accounts,” he said. Such
concerns play into thieves’ plans, investigators say.

“Criminals focus on the elderly because they know authorities will blame the victims or seniors will
worry about their kids throwing them into nursing homes,” said C. Steven Baker, a lawyer with the
Federal Trade Commission. “Frequently, the victims are too distracted from dementia or
Alzheimer’s to figure out something’s wrong.”

Within a few months, Mr. Guthrie’s children noticed that he was skipping meals and was behind on
bills. By then, all of his savings — including the proceeds of selling his farm and money set aside to
send great-grandchildren to college — was gone.

State regulators have tried to protect victims like Mr. Guthrie. In 2005, attorneys general of 35
states urged the Federal Reserve to end the unsigned check system.



https://www.nytimes.com/2007/05/20/business/20tele.html                                                                7/8
6/14/2021 Case 1:22-cv-10666-TLL-PTM    ECF
                                   Bilking      No. 11-12,
                                           the Elderly,          PageID.931
                                                        With a Corporate              Filed
                                                                         Assist - The New York08/05/22
                                                                                               Times     Page 9 of 9
“Such drafts should be eliminated in favor of electronic funds transfers that can serve the same
payment function” but are less susceptible to manipulation, they wrote.

But the Federal Reserve disagreed. It changed its rules to place greater responsibility on banks that
first accept unsigned checks, but has permitted their continued use.

Today, just as he feared, Mr. Guthrie’s financial freedom is gone. He gets a weekly $50 allowance to
buy food and gasoline. His children now own his home, and his grandson controls his bank account.
He must ask permission for large or unusual purchases.

And because he can’t buy anything, many telemarketers have stopped calling.

“It’s lonelier now,” he said at his kitchen table, which is crowded with mail. “I really enjoy when
those salespeople call. But when I tell them I can’t buy anything now, they hang up. I miss the good
chats we used to have.”




https://www.nytimes.com/2007/05/20/business/20tele.html                                                                8/8
